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Case 2:19-cv-00748-JAD-VCF Document 6 Filed 05/08/19 Page 1 of 20

JOHN P. SHANNON

Nevada Bar No. 7906

JASON S. COOK

Nevada Bar No. 7965

LAW OFFICE OF WILLIAM H. JACKSON
6130 Elton Avenue

Las Vegas, Nevada 89107

Phone: (702) 489-3030

Facsimile: (702) 489-3033

Attorneys for Plaintiff
UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA, SOUTHERN DIVISION

ESTEVAN ALVARADO-HERRERA, an
individual;
Plaintiff, Case No.: 2:19-cv-00748-GMN-VCF

VS.

JOSE LUIS ALVAREZ, JR, individually; R &
A CARRIERS, INC., a Texas corporation; and,
DOES I through X, inclusive,

Defendants.

 

ACUITY, A MUTUAL INSURANCE
COMPANY

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Intervenor.

SUPPLEMENT TO AFFIDAVIT OF COMPLIANCE
STATE OF NEVADA )
COUNTY OF CLARK ~
CHERYL COOK, being first duly sworn, deposes and says:
1. I am an employee of LAW OFFICE OF WILLIAM H. JACKSON, attorneys for

Plaintiff ESTEVAN ALVARADO-HERRERA.

 
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2. That service of the Summons and Complaint for personal injuries was attempted on
Defendant JOSE LUIS ALVAREZ, JR. (hereinafter “ALVAREZ”) at said party’s last known residence
as documented in the State of Nevada Traffic Crash Report generated by Las Vegas Metropolitan Police
Department. The report listed an address for Defendant ALVAREZ as follows: 1201 N. Moreno
Avenue in Laredo, Texas 78043.

3. The process server/Affiant Martin H. Vacca (hereinafter “VACCA”) attempted to serve
the Summons and Complaint on Defendant ALVAREZ on January 30, 2019 at 10:45 a.m. PST at 1201
N. Moreno Avenue in Laredo, Texas 78043. On said date and time, an individual by the name of Jose
Luis Alvarez, Sr. stated that Defendant ALVAREZ is his son but his son was not home. Affiant
VACCA left a business card for Defendant ALVAREZ to contact the process server/Affiant VACCA.

4. On January 30, 2019, process server/Affiant VACCA received a telephone at 11:35 a.m.
PST from Defendant ALVAREZ who indicated he was “delivering a load” and would call back when
he was available.

5. On February 2, 2019, process server/Affiant returned to the residence at 1201 N. Moreno
Avenue in Laredo, Texas 78043 at 9:15 am. Defendant ALVAREZ’s father came to the door and
informed the process server/Affiant VACCA that Defendant ALVAREZ was “not available”. The
process server/A ffiant left another business card.

6. On February 6, 2019 at 9:15 a.m. PST, process server/Affiant VACCA returned to the
residence at 1201 N. Moreno Avenue in Laredo, Texas 78043. The front gate was secured and the
process server/Affiant could not access the doorbell. A large dog was at the front gate. Process

server/Affiant VACCA left a business card on the front gate.

 
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Case 2:19-cv-00748-JAD-VCF Document 6 Filed 05/08/19 Page 3 of 20

7. On February 8, 2019, the process server/Affiant VACCA returned to the residence at
1201 N. Moreno Avenue in Laredo, Texas 78043 at 6:15 p.m. PST. The gate was secured and a large
dog was inside the gate. The process server/Affiant left a business card on the gate.

8. On February 9, 2019 at 8:50 a.m. the process server/Affiant returned to the residence at
1201 N. Moreno Avenue in Laredo, Texas 78043 at 8:50 am. PST. Process server/Affiant VACCA
spoke with Defendant ALVAREZ’s father who stated that Defendant was not available.

9. On February 14, 2019 at 7:10 p.m. PST, the process server/Affiant VACCA returned to
the residence at 1201 N. Moreno Avenue in Laredo, Texas 78043. The front gate was secured. Process
server/Affiant VACCA honked the horn of his vehicle and a Hispanic male came out of the residence
and stated Defendant ALVAREZ was not at home. The process server/Affiant requested the Hispanic
male come down the stairs to meet the process server/Affiant at the secured gate in order to get papers
for Defendant ALVAREZ. The Hispanic male requested the process server/Affiant wait for him to put
his shoes on. The process server/Affiant waited fifteen (15) minutes and the Hispanic male never
returned. The process server/Affiant began to honk the horn on his vehicle again. A female came out
of the residence and stated that Defendant ALVAREZ does not live at the residence.

10. + The process server/Affiant noted a vehicle with plate KPT8944 was on property at 1201
N. Moreno Avenue in Laredo, Texas 78043. Said vehicle was registered to Defendant ALVAREZ.

11. The process server/A ffiant retuned to the residence at 1201 N. Moreno Avenue in Laredo,
Texas 78043 on February 18, 2019 at 3:03 p.m. PST. The gate was secured and a dog was found inside
the gate. No resident responded to the process server/Affiant’s honking of his vehicle.

12. On March 7, 2019 at 6:20 p.m. PST, the process server/Affiant VACCA returned to the
residence at 1201 N. Moreno Avenue in Laredo, Texas 78043. The gate was secured. A female looked

through a window but would not come out.

 
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Case 2:19-cv-00748-JAD-VCF Document 6 Filed 05/08/19 Page 4 of 20

13. Process server/Affiant generated an Affidavit of Attempted Service as to Defendant
ALVAREZ on March 8, 2019. Said document was filed on April 10, 2019. A copy of the Affidavit is
attached hereto as exhibit “1”.

14. That on April 5, 2019 at 2:27 p.m. PST, process server/Affiant Alexander Snipes caused
to be served on Charlene Peters at the office of the Director of the Nevada Department of Motor Vehicles
located at 555 Wright Way in Carson City, Nevada, the Summons and Complaint as well as the
Affidavit/Declaration of Attempted Service on Defendant ALVAREZ with the $5.00 statutory fee in
accordance with NRS 14.070. A copy of the Affidavit/Declaration of Service is attached hereto at exhibit
“2”. A copy of the correspondence generated by Department of Motor Vehicles dated April 12, 2019
is attached hereto at exhibit “3”,

15. On April 24, 2019, I deposited in the United States Mail at Las Vegas, Nevada, Certified
Mail No. 9407 1108 9876 5033 9468 11, Return Receipt requested with postage fully prepaid thereon,
an envelope containing a copy of the Summons, Complaint and Affidavit of Service upon Department
of Motor Vehicles. In addition, I caused to be deposited in the United States Mail at Las Vegas, Nevada
an envelope — not certified, and not requiring signature — containing a copy of the Summons, Complaint

and Affidavit of Service upon Department of Motor Vehicles.

 
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Case 2:19-cv-00748-JAD-VCF Document 6 Filed 05/08/19 Page 5 of 20

16. Said envelopes were addressed to Defendant ALVAREZ at the following address: 1201
N. Moreno Avenue in Laredo, Texas 78043. Copies of the envelopes with postage noted on both are
attached hereto as exhibit “4”.

17. Onor about May 2, 2019, I performed a search on The United States Postal Service USPS
website for status of the delivery of the Certified Mail No. 9407 1108 9876 5033 9468 11. According
to the Certified Mail Electronic Delivery Confirmation document attached hereto at exhibit “5”, the
USPS Status stated, in part, as follows: “Your item was delivered to an individual at the address at 4:27
pm on April 29, 2019 in LAREDO, TX 78043.”

18. On or about May 6, 2019, the envelope addressed to Defendant ALVAREZ and sent via
Certified Mail No. 9407 1108 9876 5033 9468 11, Return Receipt requested, was returned to the Law
Office of William H. Jackson. Said envelope was returned with a label placed by the US Postal Service

stating “RETURN TO SENDER REFUSED UNABLE TO FORWARD”. See exhibit “6” attached

 

hereto.
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DATED this_\__ day of May, 2019.
eZ ——— —
ZaL )
CHERYL. COOK
STATE OF NEVADA )

) ss.
COUNTY OF CLARK )

On this 1 th day of May, 2019, personally appeared before me, the undersigned, a Notary
Public in and for the County of Clark, State of Nevada, CHERYL COOK, who acknowledged that she

executed the above instrument. 57

 

 

 
 

| fd
~~ PAOLA K. BECERRA NOTARY PUBLIC, in and for said
SRN NOTARY PUBLIC County and State
STATE OF NEVADA

! My Commission Expires: 01-20-22
Certificate No: 14-12806-1

 

 

 

 
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EXHIBIT “1”
Case 2:19-cv-00748-JAD-VCF Document 6 Filed 05/08/19 Page 7 of 20

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4110/2019 8:53 AM
Steven D. Grierson

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JOHN P. SHANNON ;

Nevada Bar No. 7906
JASONS.COOK

Nevada Bar No. 7965

LAW OFFICE OF WILLIAM H. JACKSON
6130 Elton Avenue t

Las Vegas, Nevada 89107

Phone: (702) 489-3030

Facsimile: (702) 489-3033

 

 

 

 

Attorneys for Plaintiffs
DISTRICT COURT, CLARK COUNTY, NEVADA
Plaintiff / Petitioner: Case No: A-19-787456-C
ESTEVAN ALVARADO-HERRERA, an individual Dept. No, II
Defendant / Respondent: AFFIDAVIT/DECLARATION OF
JOSE LUIS ALVAREZ, JR,, individually; R & A CARRIERS, INC, aTexas | ATTEMPTED SERVICE JOSE LUIS
Corporation; and DOES | through X, inclusive ALVAREZ, JR.

 

 

1, MARTIN H, VACCAPS 1257 EXP:7/31/2020, , being duly sworn, or under penalty of perjury, state that at
all times relevant, | was over the age of 18 years and nota party to this action, and that within the
boundaries of the state where service was effected, | was authorized by law to make service of the
documents, :

The undersigned duly attempted to serve the following document(s); SUMMONS; COMPLAINT in the
above entitled action upon JOSE LUIS ALVAREZ, JR., with the following results: 1) Unsuccessful Attempt:
Jan 30, 2019, 10:45 am PST at 1201 N MORENO AVE, LAREDO, TX 78043-Jose Luis Alvarez Sr. stated the
defendant is his son, but was not home. Left card for defendant to call. Unsuccessful Attempt: jan 30,
2019, 11:35 am PST at 1201 N MORENO AVE, LAREDO, TX 78043-Recelved a call from Jose who said hewas
delivering a load and would call back when he was available. Unsuccessful Attempt: Feb 2, 2019, 9:15am
PST at 1201 N MORENO AVE, LAREDO, TX 78043-Defendant's father came to door and said defendant was
not available. Left another card. Unsuccessful Attempt: Feb 6, 2019, 9:15 am PST at 1201 N MORENO AVE,
LAREDO, TX 78043-Gate secured, | could not access doorbell. Large dog Inside gate. Left card on

gate, Unsuccessful Attempt: Feb 8, 2019, 6:15 pm PST at 1201 N MORENO AVE, LAREDO, TX 78043-Gate
secured, | could not access doorbell. Large dog inside gate. Left card on gate, Unsuccessful Attempt: Feb
9, 2019, 8:50 am PST at 1201 N MORENO AVE, LAREDO, TX 78043-Defendant's father stated that the
defendant was not available, Unsuccessful Attempt: Feb 14, 2019, 7:10 pm PST at 1201 N MORENO AVE,
LAREDO, TX 78043-Gate secured. Afer honking the horn a hispanic male came out and stated the
defendant was not home. | asked him ff he could come down the stairs to meet me at locked gate to get
the documents for the defendant. He told me to wait while he put on shoes. | walted 15 minutes and the
male never came back out. | yelled and honked my horn again and a female came out and sald the
defendant does not live there

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Case Number: A-19-787456-C
Case 2:19-cv-00748-JAD-VCF Document 6 Filed 05/08/19 Page 8 of 20

Avehicle with plate:KPT8944 was on property and registered to the defendant. Unsuccessful Attempt:
Feb 18, 2019, 3:03 pm PST at 1201 N MORENO AVE, LAREDO, TX 78043-Gate secured. Dogs inside gate.No
one would respond to honking. Unsuccessful Attempt: Mar 7, 2019, 6:20 pm PST at 1201 N MORENO AVE,
LAREDO, TX 78043-Gate secured. A female peeked through the window but would not come out.

| declare under penalty of perjury under the law of the State of Nevada that the foregoing Is true and
correct. No Notary is Required per NRS 53.045

Date: MARCH 8, 2019

 

MARTIN H. VACCA PS 1257 EXP:7/31/2020

For:

ACE Executive Services, LLC (NV #2021C)

8275 S EASTERN AVE STE 200

LAS VEGAS, NV 89123

702 919-7223

Job: 3002372 (ALVARADO-HERRERA v. ALVAREZ}
Case 2:19-cv-00748-JAD-VCF Document 6 Filed 05/08/19 Page 9 of 20

EXHIBIT “2”
Case 2:19-cv-00748-JAD-VCF Document 6 Filed 05/08/19 Page 10 of 20

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CLERK OF THE COURT
JOHN P. SHANNON Bib Bbrcunee

Nevada Bar No. 7906

JASON S. COOK

Nevada Bar No. 7965

LAW OFFICE OF WILLIAM H. JACKSON
6130 Elton Avenue

Las Vegas, Nevada 89107

Phone: (702) 489-3030

Facsimile: (702) 489-3033

Attorneys for Plaintiffs

DISTRICT COURT, CLARK COUNTY, NEVADA

 

 

Plaintiff / Petitioner: Case No: A-19-787456-C
ESTEVAN ALVARADO-HERRERA, an individual Dept No. Il
Defendant / Respondent: AFFIDAVIT/DECLARATION OF

JOSE LUIS ALVAREZ, JR, individually; R & A CARRIERS, INC., a Texas SERVICE JOSE LUIS ALVAREZ, JR.
Corporation; and DOES | through X, inclusive

 

 

 

 

|, Alexandra Snipes, #1876, being duly sworn, or under penalty of perjury, state that at all times relevant, |
was over the age of 18 years and not a party to this action, and that within the boundaries of thestate
where service was effected, | was authorized by law to make service of the documents.

That on Fri, Apr 05 2019 at 02:27 PM, at the address of 555 WRIGHT WAY, within CARSON CITY, NV, the
undersigned duly served the following document(s): SUMMONS; COMPLAINT, AFFIDAVIT/DECLARATION
OF ATTEMPTED SERVICE JOSE LUIS ALVAREZ, JR; $5.00 STATUTORY FEE in the above entitled action upon
JOSE LUIS ALVAREZ, JR. c/o DIRECTOR OF THE NEVADA DEPARTMENT OF MOTOR VEHICLES, by then and
there, personally delivering 1 true and correct copy(ies) of the above documents into the hands of and
leaving same with Charlene Peters.

| declare under penalty of perjury under the law of the State of Nevada that the foregoing is trueand
correct. No Notary is Required per NRS 53.045.

Date: 04/09/2019 Ny Sin

Alexandra Snipes, #1876

For:

ACE Executive Services, LLC (NV #2021C)

8275 S EASTERN AVE STE 200

LAS VEGAS, NV 89123

702 919-7223

Job: 3002372 (ALVARADO-HERRERA v. ALVAREZ)

 

Case Number: A-19-787456-C
Case 2:19-cv-00748-JAD-VCF Document 6 Filed 05/08/19 Page 11 of 20

EXHIBIT “3”
Case 2:19-cv-00748-JAD-VCF Document 6 Filed 05/08/19 Page 12 of 20

Sy
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Julie Butler
Director

Steve Sisolak
Govemor

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dmvnv.com
“Driving Nevada"

Department of Motor Vehicles
555 Wright Way
Carson City, Nevada 89771-0900
Telephone (775) 684-4549

April 12, 2019

John P. Shannon, ESQ,

LAW OFFICE OF WILLIAM H. JACKSON
6130 Elton Avenue

Las Vegas, Nevada 89107

RE: Estevan Alvarado-Herrera vs. Jose Luis Alvarez, JR.
Case No: A-19-787456-C

Service Date: 4/12/19

Service Accepted For: Jose Luis Alvarez, JR

Delivery Method: Battle Born Process Service

Dear John P. Shannon,

This letter acknowledges service of a Summons and Complaint received in the Director's Office
of the State of Nevada, Department of Motor Vehicles for the above-referenced case, along
with $5 provided for in NRS 14.070.

Sincerely,

Abeten Walt

Heather Walent
Administrative Assistant
Director’s Office
Case 2:19-cv-00748-JAD-VCF Document 6 Filed 05/08/19 Page 13 of 20

EXHIBIT “4”
Case 2:19-cv-00748-JAD-VCF Document 6 Filed 05/08/19 Page 14 of 20

Law Office of William H. Jackson US POSTAGE AND FEES PAID
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Jose Luis Alvarez Jr
1201 N MORENO AVE
LAREDO TX 78043-3542

 

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EXHIBIT “5”
Case 2:19-cv-00748-JAD-VCF Document 6 Filed 05/08/19 Page 18 of 20

Certified Mail Electronic Delivery Confirmation™

 

 

 

Law Office of William H. Jackson US POSTAGE AND FEES PAID

 

 

 

 

 

 

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Departed USPS Regional Facility, April 26, 2019, 7:48 am, LAS VEGAS
NV DISTRIBUTION CENTER

Arrived at USPS Regional Origin Facility, 04/25/2019, 9:14 pm, LAS
VEGAS NV DISTRIBUTION CENTER

Accepted at USPS Origin Facility, April 25, 2019, 7:59 pm, LAS VEGAS,
NV 89107

Shipping Label Created, USPS Awaiting Item, April 24, 2019, 1:57 pm,
LAS VEGAS, NV 89107

Electronic Delivery Confirmation Report © 2019 Certified Mail Envelopes, Inc. All rights reserved.

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Office or online at www.USPS com. USPS Certified Mail™ is a registered trademark of The United States Postal Service. All rights reserved.

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Case 2:19-cv-00748-JAD-VCF Document 6 Filed 05/08/19 Page 19 of 20

EXHIBIT “6”
19-cv-00748-JAD-VCF Document6 Filed 05/08/19 Page 20 of 20

Case 2

 

    

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